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1    McGREGOR W. SCOTT
     United States Attorney
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     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
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4    Telephone: (916) 554-2763
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7
8                  IN THE UNITED STATES DISTRICT COURT FOR THE
9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )       No. 2:04-cr-00019-MCE
                                        )
12                    Plaintiff,        )       MOTION, STIPULATION AND ORDER
                                        )       REGARDING RULE 35 REDUCTION
13                                      )       IN SENTENCE
           v.                           )
14                                      )
     TRUNEL BUTLER,                     )
15                                      )
                      Defendant.        )
16                                      )
17         Pursuant to Rule 35(b) of the Federal Rules of Criminal
18   Procedure, the United States hereby moves for a reduction in the
19   sentence of Trunel Butler from 75 months to 48 months.           The parties
20   hereby stipulate that this reduction is appropriate and may be
21   ordered by the court without the matter being placed on calendar and
22   without the presence of the defendant.         Fed. R. Crim Pro. 43(b)(4).
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          Case 2:04-cr-00019-KJM-AC Document 95 Filed 07/30/07 Page 2 of 2


1
                                               McGREGOR W. SCOTT
2                                              United States Attorney
3
     DATED: July 21, 2005                By     /s/ Mary L. Grad
4                                              MARY L. GRAD
                                               Assistant U.S. Attorney
5
6                                              /S/ Rachelle Barbour
                                               RACHELLE BARBOUR
7                                              Counsel for Trunel Butler
8
9    IT IS SO ORDERED.
10
11   Dated: July 30, 2007

12
                                        _____________________________
13
                                        MORRISON C. ENGLAND, JR.
14                                      UNITED STATES DISTRICT JUDGE

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